
4 N.Y.2d 886 (1958)
Charlotte Mintz et al., Doing Business under the Name of The Mint Factors, Appellants,
v.
Joseph Clavin &amp; Co., Inc., et al., Respondents, et al., Defendants.
Court of Appeals of the State of New York.
Argued March 31, 1958.
Decided May 1, 1958.
Marvin E. Frankel for appellants.
Emmet L. Holbrook and Joseph Haskell for respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Judgment affirmed, with costs; no opinion.
